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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED DRYWALL             )                MDL NO. 2047
 PRODUCTS LIABILITY LITIGATION                  )
                                                )                SECTION: L
                                                )
                                                )                JUDGE FALLON
                                                )                MAG. JUDGE WILKINSON
________________________________________________)

THIS DOCUMENT RELATES TO ALL CASES


                                           ORDER

       Considering the Plaintiffs’ Steering Committee’s Motion to Compel Production Of

Documents & Further Jurisdictional Depositions Of The Taishan Defendants & For Sanctions;

       IT IS ORDERED BY THE COURT that the Motion to Compel Production Of Documents

& Further Jurisdictional Depositions Of The Taishan Defendants & For Sanctions be and is hereby

GRANTED.

       New Orleans, Louisiana, this ______ day of __________________, 2011.



                                                   ___________________________________
                                                   Honorable Eldon E. Fallon
                                                   U.S. District Court Judge
